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June 5, 2018

Via ECF

Hon. Lawrence J. Vilardo

United States District Judge

Robert H. Jackson United States Courthouse
2 Niagara Square

Buffalo, New York 14202

Re: New Arguments in Plaintiffs’ Objection to Report and Recommendation
Sarah Witkowski and Scott Witkowski v. Niagara Jet Adventures, LLC
DocketNo: l6-cv-00856-LJV-JJM
Our File No: 666-33038

Dear Judge Vilardo:

We represent defendant Niagara J et Adventures in the above-referenced admiralty matter
concerning an injury that allegedly occurred, onboard a Niagara River excursion. Plaintiffs
maintain this lawsuit despite signing releases of liability. Magistrate Judge McCarthy’s Report
and Recommendation filed on June 1, 2018 determined the releases are valid and enforceable
This letter concerns plaintiffs’ Objection to Magistrate Judge McCarthy’s findings [Docket #43]
which raises new law and new arguments, in violation of the local rules and Magistrate Judge
McCarthy’s warning that new arguments and case law will not be considered. Indeed, Your
Honor ruled in another matter that: “...a district judge cannot consider new arguments raised in
objections to a report or recommendation that could have been raised before the magistrate
judge.” McQueen v. Huddleston, 2018 U.S. Dist. LEXIS 16809; 2018 WL 661413 at *7,
(W.D.N.Y. 2018) (Vilardo, J.). Plaintiffs’ new arguments certainly could have been heretofore
raised.

Plaintiffs’ arguments raised now for the first time are both procedurally and substantively
defective. Accordingly, we are respectfully requesting guidance from the Court in this regard.

In their objection, plaintiffs certify pursuant to Local Rule 72 that new legal and factual
arguments are raised concerning the applicability of certain federal statutes because
“[a]dditional legal research revealed the applicability of these sections to the case at bar. ”

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Plaintiffs also certify that they have submitted new case law in support of their original
argumentsl

l\/loreover, plaintiffs’ new arguments are a complete ‘about face’ from their prior
representations to the Court. Plaintiffs’ opposition to the motion for summary judgment
concedes “...under federal maritime law, ‘a preaccident waiver will absolve an owner or
operator of liability for recreational accidents taking place on navigable waters where the
exculpatory clause '(]) is clear and unambiguous,' (2) is not inconsistent with public policy,' and
(3) is not an adhesion contract.”’ (citations omitted) [Docket #30, p. 14]. Now, plaintiffs
abruptly change course, arguing that an admiralty statute invalidates the waiver they signed.

Plaintiffs new argument concerning 46 U.S.C. § 30509 is a misrepresentation of the law.
That statute invalidates exculpatory provisions limiting liability of vessel owners “of any vessel
transporting passengers between ports of the United States or between any such port and a
foreign port...” According to the legislative history, that statute’s predecessor (46 U.S.C. app.
§1830) was enacted to curtail steamship owners’ practice of printing exculpatory provisions on
the reverse side of passenger tickets. S. Rep. No. 74-2061 at 6 (1936). Also, the llth Circuit
held that this admiralty statute applies to common carrier (ferries, ocean liners or cruise ships)
and is not applicable to recreational excursions that depart and return to the same port. Schultz v.
Florida Keys Dive Ctr., Inc., 224 F.3d 1269, 2001 AMC 483 (llth Cir. 2000) (holding a dive
excursion is not a “vessel transporting passengers between ports of the United States or between
any such port and a foreign port”).

Plaintiffs refer to Hambrook v. Smith, 2016 U.S. Dist. LEXIS 109484, 2016 WL
4408991, a District of l'-lawaii case, for the proposition that 46 U.S.C. § 30509 invalidates
releases for recreational excursions (in that case - a scuba dive excursion).2 That court did not
examine the “between ports” issue, but rather cited to Matter of Pacifz`c Adventures, Inc., 5 F.
Supp. 2d 8?45 (D. l-iaw. 1998}, another Hawaii case, which erroneously applied the admiralty
statute3 l"*`ederal admiralty law is now well settled for decades that Waivers ol` liability for
recreational marine activities are valid and enforceable as set 'l"orth in l\liagara Jet’s moving
papers (p. 10-l l) including one by the late Judge Curtin of this Court.4

Niagara Jet respectfully requests that the Court strike plaintiffs’ references to new statutes
and cases because they amount to new arguments that were not mentioned in the pleadings, nor
years of discovery, or the extensive briefs that were submitted to Magistrate Judge McCarthy.

 

1 Plaintiffs’ cite ten (10) new cases in their objection to the Magistrate Judge report, not previously cited.

2 P|aintiffs misrepresent this decision as being issued by the Ninth Circuit Court of Appea|s.

3 lndeed, his case Was the subject of a Tulane l\/laritime Law Journal article titled: P/ease Re/ease I\/le - The
Erroneous App/ication 0f46 U.S.C. app. 1836 to $cubo Diving Re/eases in Courtney v. Pocific Adventures, /nc., 23 Tu|.
|\/lar. L. J. 473 (1999).

4 Brozyna v. Niagara Gorge Jetboating, Ltd., 2011 U.S. Dist. LEXiS 111546 (W.D.N.Y. 2011) (ho|ding that Waivers of
liability for recreational excursions on the Niagara River are valid and enforceab|e).

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Lastly, Niagara Jet respectfully requests guidance on the page limit(s) Your Honor
wishes for the responses and replies be submitted to Your Honor per the Order dated June 4,
2018.

Respectfully submitted,

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